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 3
 4                   IN THE UNITED STATES DISTRICT COURT
 5                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,      )
                                    )       CR. No. 2-04-CR-0175 LKK
 8                  Plaintiff,      )
                                    )
 9             v.                   )
                                    )       TIME EXCLUSION ORDER
10   ANTONIO ALCANTAR HERNANDEZ     )
                                    )
11                  Defendant.      )
     _______________________________)
12
13        Upon motion of the United States and defendant Hernandez,
14   the Court continues the next status conference in this case to
15   December 11, 2007 at 9:30 a.m..      According to counsel, there is
16   substantial discovery in this case and defense counsel needs time
17   to review the discovery with Mr. Hernandez.        The   continuance is
18   necessary for defense counsel adequately to review the discovery
19   provided by the government and to conduct further investigation
20   in the case.   See 18 U.S.C. § 3161 (h)(8)(B)(iv) [Local Code T4].
21        The Court finds that the interests of justice served by
22   granting this continuance outweigh the best interests of the
23   public and the defendant in a speedy trial. See 18 U.S.C. §
24   3161(h)(8)(A). Time, therefore, will be excluded under the Speedy
25   Trial Act as to defendant Hernandez from November 14, 2007 up to
26   and including December 11, 2007.
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     DATE: November 16, 2007
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